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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


*************************************
ISO Developers.,                       *
      Plaintiff/Counterclaim Defendant *
                                       *             CIVIL ACTION NO. 16-12411-ADB
vs.                                    *
                                       *
ROBERT ERRATO, et al,                  *
      Defendant/Counterclaim Plaintiff *
*************************************

                    ISO DOC, INC.’S SUGGESTION OF BANKRUPTCY

       Plaintiff/Defendant in the Counterclaim, ISO Doc, Inc., hereby files this notice that a

Chapter 11 Bankruptcy petition has been filed on its behalf in the United States Bankruptcy

Court, District of Massachusetts, on May 19, 2017, under Bankruptcy Court case number 17-

11882. Pursuant to 11 U.S.C. 362, an automatic stay is in effect in which any pending

proceedings against the Defendant are stayed pursuant to the aforementioned statutory authority,

subject to any exceptions set forth therein.

                                                     Respectfully submitted:


                                                     /s/ Juliane Balliro
                                                     Juliane Balliro (BBO #028010)
                                                     Nelson Mullins Riley & Scarborough LLP
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of June, 2017 the above document filed through the
ECF system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and by first class mail to the unregistered participants.


                                                     /s/ Juliane Balliro
                                                     Juliane Balliro
